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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                            ORLANDO DIVISION

 UNITED STATES OF AMERICA

 VS.                                                            CASE NO: 6:22-mj-2309-DAB

 THOMAS PAVEY


                                                                                         AUSA: Chauncey Bratt

                                                                                          Defense Attorney: N/A

JUDGE:           DAVID A. BAKER                   DATE AND TIME:                              December 21, 2022
                 United States Magistrate Judge                                             2:33 P.M. – 2:42 P.M.

Courtroom:       3C                               TOTAL TIME:                                          9 Minutes

DEPUTY CLERK:    Jenifer White                    REPORTER:                                               Digital
                                                                    Orlando_Digital_Transcripts@flmd.uscourts.gov
INTERPRETER:     None                             PRETRIAL/PROB:                                    Juan Cabrera


                                            CLERK’S MINUTES
                INITIAL APPEARANCE RULE 5 (NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION)



 Case called, appearances made, procedural setting by the Court.
 Defendant does not qualify for court appointed counsel. Defendant to retain private counsel.
 Court advises defendant of his rights, including Rule 20 rights.
 Court advises government of the requirements pursuant to the Due Process Protections Act.
 Government oral motion for detention.
 Defendant reserves his right to a detention & preliminary hearing without prejudice.
 Defendant to be detained pending further order of this court.
 Court adjourned.




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